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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig                          MDL No. 2179
       “Deepwater Horizon” in the Gulf
       Of Mexico, on April 20, 2010
                                                         SECTION: J

                                                         JUDGE BARBIER
This Document applies to:
All Cases.                                               MAGISTRATE SHUSHAN




                                 NOTICE OF SUBMISSION


       PLEASE TAKE NOTICE that undersigned counsel for Transocean Offshore Deepwater

Drilling Inc., Transocean Holding LLC, Transocean Deepwater Inc. and Triton Asset Leasing

GmbH (collectively “Transocean”) will bring the foregoing Motion for Protective Order for

submission before the Honorable Sally Shushan, Division “1”, of the United States District

Court, Eastern District of Louisiana, located at 500 Poydras Street, New Orleans, Louisiana on

the 25th day of May, 2011 beginning at 9:00 a.m. or as soon thereafter as counsel can be heard.
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Respectfully submitted,



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                                                    Transocean Holdings LLC, Transocean
                                                    Offshore Deepwater Drilling Inc. and
                                                    Transocean Deepwater Inc.


                                CERTIFICATE OF SERVICE


       I hereby certify that on May 5th, 2011, I electronically filed the foregoing with the

Court’s CM/ECF system and service on all counsel of record by using the LexisNexis File &

Serve, in accordance with Pretrial Order No. 12 which will send a notice of filing to all counsel

accepting electronic notice.


                                              s/Kerry J. Miller




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